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JERRY S. BUSBY

Nevada Bar #001107

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' Las Vegas, Nevada 89107

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Attorneys for Defendant
SMITH’S FOOD & DRUG CENTERS, INC.
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
ALEYDA DeMENA, CASE NO. 2:12-cv-00626-MMD-CWH
Plaintiff,
vs.
SMITH’S FOOD & DRUG CENTERS, INC.
and DOES 1 through 100; And ROE
CORPORATIONS 101 through 200

Defendant.

 

 

STIPULATION AND ORDER FOR DISMISSALWITH PREJUDICE
IT IS HEREBY STIPULATED AND AGREED by and between CHRISTOPHER D. BURK,

ESQ., of the law firm BERNSTEIN & POISSON, Attorneys for Plaintiff ALEYDA DeMENA, and
JERRY S. BUSBY, ESQ., of the law firm COOPER LEVENSON APRIL NIEDELMAN &
WAGENHEIM, P.A., Attorneys for Defendant SMITH’S FOOD & DRUG CENTERS, INC., that:

L Plaintiff ALEYDA DeMENA’S claims herein against Defendant SMITH’S FOOD &
DRUG CENTERS, INC. shall be dismissed with h prejudice, each party to bear their own attorney S
fees and costs; and
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CLAC 2019496.1

 

 
 

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Case 2:12-cv-00626-MMD-CWH Document 19 Filed 02/08/13 Page 2 of 3

DATED this §!" day of feb 2013.

 
 
 
 
 
  
   

COOPER LEVENSON APRIL
~ “NEIDELMAN & WAGENHEIM, P.A.

 

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as Vegas, Nevada 89107

H (702) 256-4566 ~ (702) 366-1125
Attorneys for Plaintiff Attorneys for Defendant
ALEYDA DeMENA SMITH’S FOOD & DRUG CENTERS, INC.
IT IS SO ORDERED:

2. That there is no trial date inasmuch as the Joint PreTrial Order was not filed in this case.

 

UNITED STATES DISTRICT JUDGE
DATED:

CLAC 2019496.1

 

 

 

 

 
 

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2. That there is no trial date inasmuch as the Joint PreTrial Order was not filed in this case.

DATED this 8th day of February, 2013.

BERNSTEIN & POISSON COOPER LEVENSON APRIL

NEIDELMAN & WAGENHEIM, P.A. ~ |

/s/ Jerry S. Busby

 

 

CHRISTOPHER D. BURK, ESQ JERRY S. BUSBY, ESQ.
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Las Vegas, Nevada 89107 Las Vegas, Nevada 89107
(702) 256-4566 (702) 366-1125

Attorneys for Plaintiff Attorneys for Defendant

ALEYDA DeMENA SMITH’S FOOD & DRUG CENTERS, INC.

IT IS SO ORDERED:

 

UNITED STATES DISTRICT JUDGE
DATED: —

CLAC 2019496.1

 
